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                EXHIBIT
                   E
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              )
 MAKE THE ROAD STATES, INC.,                  )                 No. 2:25-cv-02938
 NAACP BUCKS COUNTY BRANCH                    )
 2253, BUXMONT UNITARIAN                      )
 UNIVERSALIST FELLOWSHIP,                     )
 and JUAN NAVIA,                              )
                                              )
           Plaintiffs,                        )
                                              )
           v.                                 )
                                              )
 FREDERICK A. HARRAN,                         )
 individually and in his official             )
 capacity as Sheriff of Bucks County,         )
 and BUCKS COUNTY,                            )
                                              )
                    Defendants.               )

                     DECLARATION OF EMILY HOECKER
          IN SUPPORT OF PETITION FOR AWARD OF ATTORNEY’S FEES

       I, Emily Hoecker, am a paralegal working under the attorneys of record for the plaintiffs

in the above-captioned case. I make the following declaration upon my personal knowledge:

1.     This declaration is submitted in support of Plaintiffs’ Petition for Attorneys’ Fees.

2.     I am a Paralegal of the ACLU of Pennsylvania, where I have worked as a paralegal since

       August 2023.

3.     I earned my undergraduate degree from Northwestern University in December 2019.

4.     After my graduation, I worked for 3 years at a criminal defense legal organization in

       Tulsa, Oklahoma. I acted for 2 years as a Client Advocate, and then 1 year as a Paralegal.

5.     I certify that the attached time sheets, which are incorporated by reference, were prepared

       contemporaneously and maintained in the ordinary course of business.




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6.    The hours we have billed in this case are fair and reasonable and were necessarily

      incurred in the successful prosecution of this case.

7.    Only the time spent on this case that could reasonably be billed to a private client has

      been included.

8.    Based on my experience, I believe that the requested rate of $205 per hour is fair and

      reflects the prevailing community rate for civil rights paralegals of comparable skill and

      experience.

9.    I am a salaried employee of the ACLU of Pennsylvania, a nonprofit, nonpartisan

      organization dedicated to defending and protecting our individual rights and personal

      freedoms. We do not charge our clients, and have not done so in this case.

      Consequently, I am subject to the “community market rate rule” for determining my fee

      rate.

10.   My hourly rate of $205 per hour reflects the community market rate for paralegals of

      comparable skill and experience. This rate is based on knowledge of rates charged by

      legal nonprofits in Philadelphia with similar levels of experience and educational

      backgrounds.

11.   My total billable hours for the U.S. District Court proceedings in this case are 2.7. The

      total amount (lodestar), as calculated by multiplying the hours times the prevailing billing

      rate of $205, is $553.50.

12.   For the foregoing reasons, I believe that my requested hourly rate of $205 is fair,

      reasonable, and well within the scope of rates given to federal court paralegals with

      similar experience, skill, and standing in the Philadelphia legal community.




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I declare under penalty of perjury that the foregoing is true and correct.




Dated: July 2, 2025                                    Respectfully submitted,

                                              By: /s/ Emily Hoecker

                                                      Emily Hoecker
                                                      AMERICAN CIVIL LIBERTIES UNION
                                                      OF PENNSYLVANIA
                                                      P.O. Box 60173
                                                      Philadelphia, PA 19102
                                                      215-592-1513
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Make the Road v. Harran – Emily Hoecker Paralegal Time - E.D. Pa.
Hourly Rate = $205

 Date       Description                                          Time        Amount
 06/12/2025 Proofreading and Finalizing Motion to Remand and            0.90 $ 184.50
            Supporting Brief and Exhibits


 06/12/2025 Filing Motion to Remand Papers in the Eastern               0.30    $     61.50
            District of Pennsylvania
 06/24/2025 Cite checking and Proofreading Reply Brief in               1.20   $     246.00
            Support of Motion for Remand


 06/24/2025 Filing Reply Brief in Support of Motion for Remand          0.30    $     61.50
            in Eastern District of Pennsylvania

 TOTAL                                                                  2.70       $ 553.50




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